Case 1:17-cr-00101-LEK Document 303 Filed 08/21/18 Page 1 of 10      PageID #: 3050



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 UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                         )
          Plaintiff,                     )   UNITED STATES’S RESPONSE TO
                                         )   DEFENDANT’S MOTION TO APPEAL
    vs.                                  )   ORDER DENYING MOTION FOR
                                         )   DISQUALIFICATION OF JUDGE
 ANTHONY T. WILLIAMS,                    )   LESLIE KOBAYASHI; CERTIFICATE
                                         )   OF SERVICE
          Defendant.                     )
                                         )

             UNITED STATES’S RESPONSE TO DEFENDANT’S
             MOTION TO APPEAL ORDER DENYING MOTION
          FOR DISQUALIFICATION OF JUDGE LESLIE KOBAYASHI

       The government respectfully submits this brief in opposition to Defendant

 Anthony T. Williams’s (Defendant) “Motion to Appeal Order Denying Motion for
Case 1:17-cr-00101-LEK Document 303 Filed 08/21/18 Page 2 of 10        PageID #: 3051



 Disqualification of Judge Leslie Kobayashi” (Df. Mot. Appeal Disqual.). ECF No.

 299. Defendant’s motion should be denied. On June 5, 2018, the Court denied

 Defendant’s motion to disqualify Judge Kobayashi from this prosecution. ECF

 No. 257. Such an Order denying disqualification is not reviewable until after

 judgment. Moreover, reconsideration of the June 5, 2018 Order is not appropriate

 because there has been no discovery of new material facts or intervening change in

 law, and the June 5, 2018 Order contains no manifest error of law or facts.

       It should be highlighted at the outset that Defendant’s instant motion appears

 to be the latest of numerous arguments made to the Court and to Bureau of Prisons

 (BOP) staff that rest upon a fundamental misunderstanding of Defendant’s rights

 deriving from previous orders of this Court and representations made by a BOP

 attorney at hearings. Namely, Defendant’s instant motion seeks review of Judge

 Kobayashi’s disqualification in part because her bias and prejudice was revealed

 by her disregarding “two previous rulings of magistrates who sat through several

 proceedings and ruled in favor of the undersigned.” Mot. Appeal Disqual. Exh. A

 p. 2. This grievance forms the basis of Defendant’s related Appeal of Magistrate

 Judge Decision, filed three days after the instant motion. ECF No. 300. Moreover,

 as noted by Associate Warden AnnElizabeth Card of the Federal Detention Center

 Honolulu, Defendant has similarly referenced these purported “previous rulings of

 magistrates” in making demands upon BOP staff. See ECF No. 292-2 (Exh. A to


                                          2
Case 1:17-cr-00101-LEK Document 303 Filed 08/21/18 Page 3 of 10             PageID #: 3052



 Declaration of AnnElizabeth Card, United States’s Response to Defendant’s

 Fourth Motion for Order to Show Cause and Request for Expedited Hearing, Exh.

 A p.6 (“My order from the court is for me to have access to my discs all day as I

 had since October of last year. . . .)). The government will respond to Defendant’s

 mischaracterization of the prior rulings of this Court in its response to Defendant’s

 magistrate appeal. ECF No. 304.

                                    BACKGROUND

       On April 26, 2018, Defendant filed a motion to disqualify the trial court

 judge, the Hon. Leslie E. Kobayashi, because Defendant alleged he “cannot have a

 fair trial in front of [her].” Defendant’s Motion for Disqualification of Judge

 Leslie Kobayashi (Df. Mot. Disqualification) Exh. A ¶ 1, ECF No. 241. Defendant

 cited the trial judge’s denial of “all motions . . . without issuing the requisite

 findings of facts and conclusions of law,” the trial judge’s failure to rule upon

 Defendant’s pending motions, allegations that the trial judge “displayed prejudice

 and bias against the Affiant,” and the fact that the trial judge presided over other

 cases involving the states of Hawaii, Georgia, Florida, the Federal Government,

 and a foreclosure case of one of his clients. Id. Exh. A ¶¶ 2-6.

       On April 27, 2018 the trial judge referred Defendant’s motion for

 disqualification to another District Judge, Hon. Derrick K. Watson. ECF No. 245.

 On June 5, 2018, the Court denied Defendant’s motion. ECF No. 257.


                                             3
Case 1:17-cr-00101-LEK Document 303 Filed 08/21/18 Page 4 of 10            PageID #: 3053



       On July 31, 2018, Defendant filed the instant motion to “appeal order

 denying motion for disqualification of Judge Leslie Kobayashi.”

                                     ARGUMENT

 I.    Defendant’s Has No Right To Appeal The Court’s Order
       Denying Disqualification Of The Trial Judge Until After Judgment

       Defendant erroneously styles his motion as one to appeal the June 5, 2018

 Order denying his motion to disqualify the trial judge from this matter. As an

 initial matter, to the extent that any appeal of an order of this Court is proper,

 jurisdiction over such an appeal rests with the U.S. Court of Appeals for the Ninth

 Circuit. 28 U.S.C. §§ 1291, 1292, 1294.

       In any event, the June 5, 2018 Order may not be appealed at this time

 because it is not a final order. United States v. Washington, 573 F.2d 1121, 1122

 (9th Cir. 1978) (“Since the district court’s ruling on the motion [to disqualify the

 trial judge] was not a final order under 28 U.S.C. § 1291 nor an order certified

 under 28 U.S.C. § 1292(b), the appeal should be dismissed.”); see, e.g., In re

 Cement Antitrust Litig. Etc., 688 F.2d 1297, 1313 (9th Cir. 1982) (reviewing order

 denying motion to disqualify); see also 12 Moore’s Federal Practice – Civil

 § 63.71 (2018) (“An order denying a motion to recuse is interlocutory and

 therefore not immediately appealable.”). Therefore, any appeal of the June 5, 2018

 matter must wait until after judgment.



                                            4
Case 1:17-cr-00101-LEK Document 303 Filed 08/21/18 Page 5 of 10          PageID #: 3054



 II.   Reconsideration Of The Order Denying Disqualification Is Untimely

       This Court should not reconsider the June 5, 2018 Order. Motions to

 reconsider are proper in criminal cases. United States v. Fiorelli, 337 F.3d 282,

 286 (3d Cir. 2003). Reconsideration in the criminal context is governed by the

 rules that govern equivalent motions in civil proceedings. Id.; United States v.

 Hee, 2015 U.S. Dist. LEXIS 145406 *31, 32 (D. Haw. Oct. 27, 2015).

       Local Rule 60.1 of the Rules of the U.S. District Court for the District of

 Hawaii indicates that motions for reconsideration of interlocutory orders may be

 brought only upon the following grounds:

              (a)    Discovery of new material facts not previously
                     available;
              (b)    Intervening change in law;
              (c)    Manifest error of law or facts.

 Of these grounds, only (c), relating to “manifest error of law or facts” applies here.

 Defendant has alleged no new material facts or any intervening change in

 applicable law at issue here.

       L.R. 60.1 also makes clear that “[m]otions asserted under Subsection (c) of

 this rule must be filed and served not more than fourteen (14) days after the court’s

 written order is filed.” The District Court filed its Order denying Defendant’s

 motion to disqualify on June 6, 2018. Defendant’s instant motion to appeal the

 Order, however, was filed on July 31, 2018, more than 55 days after the Court’s

 order. Accordingly Defendant’s motion is not timely and should be dismissed.

                                           5
Case 1:17-cr-00101-LEK Document 303 Filed 08/21/18 Page 6 of 10            PageID #: 3055



 III.   No Manifest Error Of Law Or Fact Supports Reconsideration
        Of The Court’s Order Denying Disqualification Of The Trial Judge

        Separate and apart from the untimeliness of Defendant’s motion, the Court

 should not reconsider the June 5, 2018 Order denying Defendant’s motion to

 disqualify Judge Kobayashi because there has been no discovery of new material

 facts or intervening change of law, and the Order contains no “manifest error of

 law or fact.” Defendant’s motion misunderstands 28 U.S.C. §§ 144 and 455.

        Motions for disqualification of a trial judge are governed by 28 U.S.C.

 §§ 144 and 455. Sections 455(a) and 455(b)(1) require that a trial judge disqualify

 him or herself from “any proceeding in which his impartiality might reasonably be

 questioned” and “where he has a personal bias or prejudice concerning a party.”

 Thus, section 455 puts the onus for disqualification upon the trial judge.

        By contrast, section 144 explains that whenever a party “makes and files a

 timely and sufficient affidavit that the judge before whom the matter is pending has

 a personal bias or prejudice against him or in favor of any adverse party, such

 judge shall proceed no further therein, but another judge shall be assigned to hear

 such proceeding.” Section 144 envisions a two-step process: first, a trial judge

 must determine whether the allegations in the affidavit are legally sufficient to

 support disqualification. If, as a matter of law, the allegations in the affidavit are

 not legally sufficient, the trial judge him or herself may deny the motion.

 Willenbring v. United States, 306 F.2d 944, 945-46 (9th Cir. 1962). However,

                                            6
Case 1:17-cr-00101-LEK Document 303 Filed 08/21/18 Page 7 of 10            PageID #: 3056



 should a trial judge determine that the allegations in the affidavit are legally

 sufficient to support disqualification, “such judge shall proceed no further therein,

 but another judge shall be assigned to hear such proceeding.” Id. At this second

 stage, the other judge weighs the evidence to determine whether bias or prejudice

 exists, and therefore, whether disqualification is appropriate. In this matter, the

 Court assigned Defendant’s motion for disqualification to District Judge Derrick

 K. Watson, ECF No. 243, who considered the parties’ briefing and issued the June

 5, 2018 Order.

       Defendant’s motion labors under a different conception of Sections 144 and

 455. Instead of the two-step process of section 144, Defendant believes that it is

 his subjective feeling alone about the bias and prejudice of the judge that dictates

 whether the judge must be disqualified:

              Regardless of how other parties may feel, they can’t not
              [sic] say whether a movant feels a judge has been biased
              or prejudice[d] against them. The undersigned reiterates
              he does not feel he can have a fair trial with Judge
              Kobayashi because her deportment, disposition, biased
              rulings gives the undersigned reason to believe he can not
              have a fair trial in front of this judge.

 Df. Appeal Disqualification Exh. A 4. This is not the law.

       Reconsideration is plainly not appropriate here. In the nearly two months

 since June 5, 2018 Order was issued, there have been no new material facts or

 intervening change of law that affect the reasoning of the order. Moreover,


                                            7
Case 1:17-cr-00101-LEK Document 303 Filed 08/21/18 Page 8 of 10          PageID #: 3057



 Defendant has alleged no “manifest error of law or facts” to support

 reconsideration under a proper reading of section 144. Instead, Defendant merely

 reiterates the claim from his motion that Judge Kobayashi exhibited bias and

 prejudice because she has been ruling against his numerous motions. Mot. Appeal

 Disqualification Exh. A p. 2. In particular, Defendant cites “two previous rulings”

 of a Magistrate Judge of this Court, which were “in favor of the undersigned for

 the requested relief,” and argues that “when that ruling was appealed by the

 government . . . , [Judge] Kobayashi disregarded their rulings and . . . took the

 position of the government . . . .” Id. However, “Reconsideration is not an

 appropriate forum for rehashing previously rejected arguments or arguing matters

 that could have been heard during the pendency of the previous motion.” Caisse

 Nationale de Credit Agricole v. CBI Indus., 90 F.3d 1264, 1270 (7th Cir. 1996).

       The June 5, 2018 Order reviewed the transcripts of hearings before the trial

 judge where Williams was present and found that “Williams was treated

 respectfully” by the trial judge. ECF No. 257 at 10. In light of the fact that a

 “judge’s conduct during the proceedings should not, except in the rarest of

 circumstances form the sole basis for recusal under § 455(a),” United States v.

 Holland, 519 F.3d 909, 913-14 (9th Cir. 2008), there was no manifest error in the

 June 5, 2018 Order.




                                           8
Case 1:17-cr-00101-LEK Document 303 Filed 08/21/18 Page 9 of 10          PageID #: 3058



       The government believes that the Court’s order is rooted in law and is well-

 reasoned and the government reiterates all the arguments it made in its brief in

 opposition to Defendant’s motion to disqualify the trial judge.

                                   CONCLUSION

       For the foregoing reasons, the government respectfully opposes the

 Defendant’s Motion to Appeal Order Denying Motion for Disqualification of

 Judge Leslie Kobayashi and requests that the Motion be denied.

              DATED: August 21, 2018, at Honolulu, Hawaii.

                                                KENJI M. PRICE
                                                United States Attorney
                                                District of Hawaii


                                                By /s/ Gregg Paris Yates
                                                  GREGG PARIS YATES
                                                  Assistant U.S. Attorney




                                          9
Case 1:17-cr-00101-LEK Document 303 Filed 08/21/18 Page 10 of 10        PageID #: 3059



                             CERTIFICATE OF SERVICE

              I hereby certify that, on the dates and by the methods of service noted

 below, a true and correct copy of the foregoing was served on the following by the

 method indicated on the date of filing:

 Served Electronically through CM/ECF:

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              DATED: August 21, 2018, at Honolulu, Hawaii.


                                              /s/ Gregg Paris Yates
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                                              District of Hawaii
